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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS

TYRION S. HODGES,                 )
               Plaintiff,         )             Case No. 1:20-cv-06643
                                  )
            v.                    )             Hon. John F. Kness
                                  )
COOK COUNTY SHERIFF THOMAS )
DART, R. PARKER, SUPT. L.         )
IRACHERA, C. ZAMFIRESCU,          )
T. RUSHER, J. HERNANDEZ,          )
J. JUDKINS, J. CRUKAJ, M.         )
SHEEHAN, E. DURAN, C. TORRES,     )
T. BEYER, N. DRACA, R. KORKUS,    )
F. RUIZOZ, M. STATLER, W. RIVERA, )
R. GARCIA, A. DUHARKIC,           )
E. VILLARREAL, E. REIERSON,       )
L. ROMAN, S. STROH, D. CONTORNO, )
J. BARAJAS, R. PASQUEL, J. PRETO, )
M. BORUS, and M. KOEDYKER,        )
                  Defendants.     )

                             CERTIFICATE OF SERVICE

        The undersigned, an attorney, hereby certifies that Defendants’ Interrogatories to
Plaintiff, Requests for Production of Documents to Plaintiff, and Requests to admit to
Plaintiff were sent via mail to the following address on January 10, 2023:

      Tyrion Hodges
      10247 S. Van Vlissingen Rd.
      Chicago, IL 60617



                                                /s/Zachary Stillman__________
                                                Zachary Stillman, One of the
                                                Attorneys for Defendants


DeVore Radunsky LLC
230 W. Monroe St., Ste 230
Chicago, Illinois 60606




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